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                           IN THE UNITED STATES DISTRICT COURT
                           FOR THE NORTHERN DISTRICT OF TEXAS
                                     DALLAS DIVISION

Boland Marine & Industrial, LLC,                      §
                                                      §
        Plaintiff,                                    §
                                                      §   CIVIL ACTION NO.: 3:20-cv-00536-S
v.                                                    §
                                                      §   IN ADMIRALTY, Rule 9(h)
Bouchard Transportation Co., Inc.,                    §
                                                      §
        Defendant,                                    §
                                                      §
and                                                   §
                                                      §
Bank of America, National Association                 §
                                                      §
             Garnishee.                               §

                          PLAINTIFF’S DISCLOSURE STATEMENT AND
                           CERTIFICATE OF INTERESTED PERSONS

        In accordance with Federal Rule of Civil Procedure 7.1 (and Local Rules 3.1(c), 3.2(e),

7.4, 81.1(a)(4)(D) and 81.2), Plaintiff Boland Marine & Industrial, L.L.C. (“Boland Marine”) by

and through its undersigned counsel, provides the following information:

        1.        For a nongovernmental corporate party, the name(s) of its parent corporation

and any publically held corporation that owns 10% or more of its stock:

        Boland Marine & Industrial, LLC states that it has no parent corporation and that no

publicly held corporation owns 10% or more of its stock.

        2.        A complete list of all persons, associations of persons, firms, partnerships,

corporations, guarantors, insurers, affiliates, parent or subsidiary corporations, or other legal

entities that are financially interested in the outcome of the case:

        Plaintiff Boland Marine & Industrial, L.L.C.;

        Garnishee Bank of America, National Association; and

        Defendant Bouchard Transportation Co., Inc.

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       In the event new parties are added to this lawsuit or additional persons or entities that are

financially interested in the outcome of this litigation are identified during the pendency of this

lawsuit Plaintiff Boland Marine will file an amended certificate.

Dated: March 2, 2020.


                                                      Respectfully Submitted,

                                                      /s/ Scott R. Wiehle
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